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B2650 (Form 2650) (12/15)

United States Bankruptcy Court MAY. -1°2025

Eastern District Of Pennsylvania CLERK US HISTHICT COURT
DISTRICT OF MARYLAND

In re Scungio Borst and Associates LLC DEPUTY

Debtor

Stephen J. Scherf, SBA Plan Trust
Administrator of SBA Plan Trust

Plaintiff

BY
Case No, _22710609-AMC

Chapter Vi

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Precision Door & Hardware Adv. Proc, No. 24-00028-AMC

Defendant

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CERTIFICATION OF JUDGMENT FOR
REGISTRATION IN ANOTHER DISTRICT

I, clerk of the United States Bankruptcy Court, do certify that the attached judgment is a true
and correct copy of the original judgment entered in this proceeding on May 8, 2024 as
it appears in the records of this court, and that: (date)

No notice of appeal from this judgment has been filed, and no motion of the kind set forth in
Federal Rule of Civil Procedure 60, as made applicable by Federal Rule of Bankruptcy
Procedure 9024, has been filed.

C1 No notice of appeal from this judgment has been filed, and any motions of the kind set forth in
Federal Rule of Civil Procedure 60, as made applicable by Federal Rule of Bankruptcy
Procedure 9024, have been disposed of, the latest order disposing of such a motion having been

entered on
(date}
C1 An appeal was taken from this judgment, and the judgment was affirmed by mandate of the
issued on .
(name of court) (date)

C1 An appeal was taken from this judgment, and the appeal was dismissed by order entered on

ac
Clerk oti: Bankruptoy Court
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Date Deputy Clerk |

(date)

